






Becker v. State






COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS






IN RE:  EL PASO COUNTY
COMMISSIONERS COURT,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator.

§
 
§
 
§
 
§
 
§
 
&nbsp;§ 



No. 08-05-00151-CV

AN ORIGINAL PROCEEDING 

IN MANDAMUS



&nbsp;

&nbsp;

&nbsp;




OPINION ON MOTION TO ENFORCE STAY

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On March 30, 2005, the El Paso County Commissioners Court filed a petition for writ
of mandamus asserting that an order (dated March 9, 2005) entered by Respondent, the
Honorable Gonzalo Garcia, Judge of the 210th District Court of El Paso County is void.  The
Commissioners Court also filed a motion for emergency relief seeking a stay of all
proceedings in cause number 2005-1688, styled In re El Paso County Commissioners Court
and Courthouse Expansion.  The motion specifically requested that all orders entered in the
case be stayed until the writ of mandamus is resolved by this Court.  We granted that motion
on March 31, 2005 pursuant to Tex.R.App.P. 52.10, and we expressly stayed all proceedings
in the case.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Despite our order staying the March 9, 2005 order and all proceedings, Respondent
issued three new orders in the case below on May 13, 2005:
1.  an order requiring the county auditor to pay from the El Paso County
Treasury an attorney invoice submitted by Robin Collins in the amount of
$6,426.43 for expenses and legal services rendered between January 9, 2005
and March 31, 2005;
2.  an order requiring the county auditor to pay an invoice submitted by Robin
Collins for reimbursement of a subpoena fee; and
3.  an order renewing Respondent’s previous orders prohibiting the
Commissioners Court from expending or encumbering any funds from sources
identified in the March 9, 2005 order.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The orders issued by Respondent are in direct violation of this Court’s stay order, and
therefore are void.  See In re Andres Martinez, 77 S.W.3d 462, 464 (Tex.App.--Corpus
Christi 2002, orig. proceeding).  Accordingly, we grant the motion to enforce the stay order. 
The three orders identified above are hereby set aside as void.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Further, we expressly order Respondent to not take any further action or enter any
orders in cause number 2005-1688 (also referred to in Respondent’s orders as cause number
05-210-1688, 210DC-05-CTHSE), except on motion filed with this Court and on notice to 

the El Paso County Commissioners Court.  This order will remain in effect until further order
of this Court or until the original proceeding is decided.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM
May 17, 2005

Before Panel No. 5
Barajas, C.J., McClure, and Parks, JJ.
Parks, J., sitting by assignment


